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PLAINTIFF'S CERTIFICATION

Elroy N. Schuler, hereby states:

1. | have reviewed a draft of a complaint against Morgan Asset Management, Inc.,
Morgan Keegan & Company, Inc., Regions Financial Corporation, MK Holding, Inc., Regions
Financial Corporation, PricewaterhouseCoopers LLP, and certain individuals, officers and
directors associated with the above entities, and authorized the filing of the same or a similar
complaint on my behalf.

2. I did not purchase shares of Regions Morgan Keegan Select Intermediate Bond
Fund at the direction of counsel or in order to participate in this private action.

3. | am willing to serve as a representative party on behalf of a class, including
providing testimony at deposition and trial, if necessary.

4. The following includes all of my transactions in Regions Morgan Keegan Select
Intermediate Bond Fund during the Class Period (December 6, 2004 through December 5, 2007)
as defined in the Complaint:

TRADE PURCHASE TOTAL
TRANSACTION DATE QUANTITY PRICE PRICE
Purchase 2/9/2007 2,018.16 $9.91 $206,000.00
Purchase 2/9/2007 2,018.160 $9.91 $20,000.00
Purchase 2/15/2007 1,208 459 $9.93 $12,000 00
Purchase 2/28/2007 14.69 $9.95 $146.17
Purchase 3/31/2007 28.407 $9.84 $279 52
Purchase 4/30/2007 27 969 $9 81 $274.38
Purchase 5/31/2007 29.781 $9 66 $287 68
Purchase 6/30/2007 29.213 $9 45 $276.06
Purchase 7/31/2007 30.591 $9 24 $282 66
Purchase 8/31/2007 40 561 $7 75 $314 35
Purchase 9/30/2007 44 604 $7 40 $307 87
Purchase 10/31/2007 38.54 $6.13 $236 24
Purchase 11/30/2007 75.219 $5 06 $380.61
Tota! Purchases 5,601.36 $54,785.54
Total Sales 42/20/2007 5,601 36 $4 62 $25,635.96
Loss ($28,149.57)

5. | have filed the following civil actions as a representative party on behalf of a class

under the federal securities laws during the last three years:
NONE

6. I will not accept any payment for serving as a representative party on behalf of a
class except to receive my pro rata share of any recovery, or as ordered or approved by the Court,

APPERSON CRUMP
ATTORNEYS AT LAW

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including the award to a representative party of reasonable costs and expenses including lost
wages relating to the representation of the class.

I declare under penalty of perjury that the foregoing is true and correct,

Executed this 28" day of January, 2008. ~. \ J ,

ELROY N,SCHULER
Shelby County, Tennessee

hey son,

APPERSON CRUMP

ATTORNEYS AT LAW

